         Case 1:17-cv-00119-APM Document 57 Filed 02/23/18 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
MCDONALD’S USA, LLC, et al.,              )
                                          )
      Plaintiffs,                         )
                                          )
              v.                          )                  Case No. 1:17-cv-119 (APM)
                                          )
WILLIE T. CRAFT,                          )
                                          )
      Defendant.                          )
_________________________________________ )


                                             ORDER

       The court has reviewed the answers filed by counsel of record for Defendant Willie T.

Craft in response to the court’s Order to Show Cause, ECF No. 54. See Answer to Show Cause

Order, ECF No. 55 (Lamb); Decl. of Alexander J.E. English in Resp. to Order to Show Cause,

ECF No. 56. Neither response is satisfactory.

       In this District Court, once a lawyer enters an appearance on behalf of a party, the lawyer

has an obligation to represent the party’s interests until the conclusion of the proceedings, unless

the court permits the lawyer to withdraw. See generally LCvR 83.6. In this case, both Alexander

J.E. English, who is a member of this court’s bar, and Bruce Lamb, who was admitted pro hac

vice, entered an appearance on Mr. Craft’s behalf. Both now assert for different reasons that his

obligation to Mr. Craft has come to an end and, for that reason, he did not file a response to

Plaintiffs’ Motion for Attorney’s Fees and Costs. Mr. English explains that he entered his

appearance solely to sponsor Mr. Lamb’s pro hac vice appearance, and for no other purpose.
         Case 1:17-cv-00119-APM Document 57 Filed 02/23/18 Page 2 of 3



Mr. Lamb reports that Mr. Craft has directed him to stop working on his case and therefore did not

respond to the Motion.

       Neither explanation, however, justifies counsel’s inaction in this matter. Mr. English’s

Notice of Appearance does not indicate a limited purpose for his appearance, nor did the court

approve any such limited appearance. Mr. English also did not seek to withdraw his appearance

after Mr. Lamb’s pro hac motion was granted. Thus, Mr. English’s duty to Mr. Craft in this matter

is neither terminated nor qualified in any way. Moreover, to the extent Mr. English is under the

impression that he had to enter an appearance in this matter to sponsor Mr. Lamb’s motion for

leave to appear pro hac vice, he is mistaken. The Local Civil Rules do not require a bar member’s

entry of appearance to sponsor a non-member’s pro hac vice application. See LCvR 83.2(d)

(requiring the sponsoring bar member only to sign the pro hac vice motion). As for Mr. Lamb,

while the court understands the predicament Mr. Craft placed him in by directing him to stop work,

his silence as to the predicament is not acceptable. What Mr. Lamb should have done is file a

motion to withdraw. Until such motion is granted, he remains obligated to carry out duties on

behalf of Mr. Craft in this matter.

       In any event, in light of counsel’s responses, the court vacates the Order to Show Cause.

The stay as to Plaintiffs’ Motion for Attorney’s Fees and Costs is hereby lifted. A response to that

Motion shall be due no later than March 9, 2018, unless before that date counsel seeks to withdraw

consistent with the requirements of Local Civil Rule 83.6. If counsel fail to file a response or to

seek withdrawal, the court will impose sanctions and make a referral to this District Court’s

Committee on Grievances. See LCvR 83.14.




                                                 2
         Case 1:17-cv-00119-APM Document 57 Filed 02/23/18 Page 3 of 3



       In addition to electronic service, a copy of this order shall be mailed to Messrs. English

and Lamb. A copy of this order also shall be mailed directly to Defendant by the Clerk of Court.




                                                    ______________________
Dated: February 23, 2018                            Amit P. Mehta
                                                    United States District Judge




                                               3
